Case 3:18-cV-00039-HEH Document 189 Filed 05/15/18 Page 1 of 4 Page|D# 7128

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

HANNAH CRAMER, et al., )
)

Plaintiffs, )

)

v. ) Civil Action No. 3:18-cv-39-HEH

)

ARKESIA, INC. d/b/a CLUB ROUGE, )
et al., )
)

Defendants. )

MEMORANDUM ORDER

 

(Directing Clerk to Enter Judgment for Three Opt-in Plaintiffs)

THIS MATTER is before the Court on its own initiative. Plaintiffs Hannah Cramer
and Jessica Blakley (“Named Plaintiffs”) bring this action, on behalf of themselves and all
other persons similarly situated, against several adult entertainment establishments in the
Richmond, Virginia-area and William Andreas Pyliaris (collectively “Defendants”),
alleging violations of the F air Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.
(See Am. Compl., ECF No. 51.) On February 27, 2018 and March 13, 2018, Named
Plaintiffs filed Notices of Consent to Join Suit as a Party Plaintiff (ECF Nos. 52, 86) and
attached forms (ECF Nos. 52-1, 86-1) completed by twenty individualsl (“Opt-in
Plaintiffs) consenting to join this collective action pursuant to 29 U.S.C. § 216(b).

On May 4, 2018, Named Plaintiffs filed three Notices of Acceptance with Offer of
Judgment (ECF Nos. 166-68) informing the Court that Opt-in Plaintiffs Caitlin Griggs,

Deanna Danger, and Emily LaCuesta had each accepted an Offer of Judgment from

 

' An additional form was completed and returned by Named PlaintiffJessica L. Blakley (ECF No. 52-1, at
l l), which will be disregarded as she joined in the Amended Complaint as a named party to this action.

Case 3:18-cV-00039-HEH Document 189 Filed 05/15/18 Page 2 of 4 Page|D# 7129

Defendants. The issue before the Court is whether or not these Opt-in Plaintiffs are
properly considered parties to this action prior to any decision regarding conditional
certification or any determination as to whether they are similarly situated to Named
Plaintiffs, within the meaning of the FLSA. For the reasons that follow, the Court
determines that the Opt-in Plaintiffs are parties to this action. Therefore, the Clerk is
DIRECTED to enter Judgment for the three individuals identified above.

The FLSA allows a plaintiff to bring an action against an employer that fails to pay
minimum Wage or compensate for overtime hours as a collective action. 29 U.S.C. §
216(b). Generally, courts approach certifying collective actions in two phases: (l)
conditional class certification, and (2) class decertification, See Scmdoz v. Cingular
Wireless LLC, 553 F.3d 913, 915 n.2 (5th Cir. 2008); Pura’ham v. Fairfax Cly. Pub. Sch.,
629 F. Supp. 2d 544, 547-48 (E.D. Va. 2009). The named plaintiff will typically move for
conditional certification of the collective action early in the proceeding, and the court
applies a lenient standard to determine whether the proposed collective action is “similarly
situated” to the named plaintiff Houston v. URS Corp., 591 F. Supp. 2d 827, 831 (E.D.
Va. 2008). The “sole consequence of conditional certification is the sending of court-
approved written notice to employees.” Genesis Healthcare Corp. v. Symczyk, 569 U.S.
66, 75 (2013). If the defendant files a motion for decertification, which typically occurs
after discovery is substantially completed, the court conducts a “heightened, fact-specific”
similarly-situated analysis Houston, 591 F. Supp. 2d at 832.

Conditional certification of a collective action is not a prerequisite to joinder by

similarly situated parties. In pertinent part, the FLSA provides:

Case 3:18-cV-00039-HEH Document 189 Filed 05/15/18 Page 3 of 4 Page|D# 7130

An action to recover the liability prescribed in either of the preceding sentences

may be maintained against any employer (including a public agency) in any

Federal or State court of competent jurisdiction by any one or more employees

for and in behalf of himself or themselves and other employees similarly

situated. No employee shall be a party plaintiff to any such action unless he

gives his consent in writing to become such a party and such consent is filed in

the court in which such action is brought.
29 U.S.C. § 216(b). Conspicuously absent from this section is any mention of certification,
much less a requirement that certification be achieved prior to joinder. Moreover, in
contrast to certification of a class action under Federal Rule of Civil Procedure 23,
certification of a collective action is merely a “‘case management” tool for district courts to
employ in “appropriate cases.”’ Myers v. Hertz Corp., 624 F.3d 537, 555 n.10 (2d Cir.
2010) (quoting Hof‘mann-La Roche v. Sperling, 493 U.S. 165,169, 174 (1989)).
Consequently, “certification is neither necessary nor sufficient for the existence of a
representative action under FLSA.” Ia’.

The Court of Appeals for the Eleventh Circuit recently addressed the legal status of
employees that file their consent to join in the suit before the district court conditionally
certifies the collective action. See Mz'ckles, et al. v. Country Club, Inc., No. 16-17484,
2018 U.S. App. Lexis 9744 (1 lth Cir. Apr. 18, 2018). After identifying the issue as one of
first impression across all circuits, the court examined the text of § 216(b) and found that
two requirements must be satisfied before a party consenting to join in a FLSA suit can be
considered a party plaintiff Ia’. at *8_10. “The first is a requirement of the named
plaintiff-she must file on behalf of herself and others similarly situated employees. The

second is a requirement of the opt-in employee-she must give her consent in Writing” to

the court Where the action was filed. Id at *8. Once these two requirements are met, “the

Case 3:18-cV-00039-HEH Document 189 Filed 05/15/18 Page 4 of 4 Page|D# 7131

opt-in plaintiffs remain party plaintiffs until the district court determines they are not
similarly situated and dismisses them.” Id. at *13.

In this case, the Named Plaintiffs brought this action on behalf of themselves and
others similarly situated (See Am. Compl.) Subsequently, Opt-in Plaintiffs filed their
written consent to join the suit with this Court. (See ECF Nos. 52-1, 86-1.) Accordingly,
the Opt-in Plaintiffs are parties to this action unless and until this Court determines they are
not similarly situated to Named Plaintiffs. The Clerk is therefore DIRECTED to enter
Judgement pursuant to Opt~in Plaintil"fs Caitlin Griggs’s, Deanna Danger"s, and Emily
LaCuesta’s Acceptance of Federal Rule of Civil Procedure 68 Offer ofJudgment (ECF
Nos. 166468).

The Clerk is DIRECTED to send a copy of this Memorandum Order to all counsel
of record.

It is so ORDERED.

W /s/

Henry E. Hudson

United States District Judge
Date:/m“j 15 20|?
Richmond, VA

